\..J.*\ Lu .»\rr\)ll\ l MLDH UI‘ .»\Ni) AU'l`]lURlTY TO

PAY COURT APPOIN'I`ED COUNSEL

 

1. clnmtsT./l)lv cone
TNW CB.S€ 2

 

JAY;Y§§H§E§W Document

28 Filed 05/02

 

osovpngeunn‘rz PagelD 36

 

3. MAG. DKT.."DEF. .\'UMBER 4. DIS'I'. DKT.[DEF. NU'MBER

2:04-020474-002

S. APPEALS DKT./'DEF. NUMBER

6. OTHER DKT. NUMBER

 

1. IN cAsE/MATTER OF tcm mmi s. PAYMENT cATEGORY
U.S. v. Pratt Felony

 

9. rvvn PERSON REPRESENTED
Adult Defendzmt

 

10. REPRESENTATION TYPE
(See instructions)

Criminai Case

 

11. 0FFENSE(5) CHARGED ccice u.s. code. Tme st Secclun)
1) 18 2251.F -- SEXUAL EXPLOITATION OF CHILDREN

limore than one offense, list (l.lp to five) major oii'ens$ charged, according to severity ufoil'ense.

 

 

 

iill§ ii@@llr`li§nt entered on the docket
'll`lllt itu!'é 'é fenner inlet rlach on

 
 

 

CATEGOR[ES (Altaeh itemization of services with dates}

HOURS
CLAIMED

 

 

    
   
   

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o ° ' ' eial
ndl')€if')(i(]€
Date oi'Order

time oiappuintrnent. m YES

UNO

TOTAL
AMOUNT
CLAlMED

MAT]~L’I`ECH
AD_]USTED
HOURS

 

15. a. Arraignrnent and/or Plea

 

b. Bail and Detent,ion Hearings

 

e. Motion Hcarings

 

d. Trial

 

e. Sentencing Hearings

 

i'. Revocation Hearings

 

-1=¢(': l="‘

g. Appeals Court

 

h. Other (Specify on additional sheets)

 

(Rate per hour = $ ) TOTALS:

 

 

‘F`

a. lnterviews and Conferences

 

b. Obtaining and reviewing records

 

e. Legai research and brief writing

 

d. Travei time

 

e. Investigative and Other work tspeciry on memorial sham

 

¢-\E:o('} "»o -»l'.-‘Q *-

 

(Rate per hour = $ )
Travei Expenses

TOTALS:
(lodgirlg, parkhtg', meais, mileage, etc.)

 

 

 

lB.

 

Other Expenses (other than expert, lranscripts, ete.)

19. CERTlFICATlON OF ATTORNEYIPAYEE FOR THE PERlOD OF SER\"ICE
FROM 'l`O

§ leer oi"`Ey Orner of the Court

Nune Pm Tunc Date
Repaymerlt or partial repayment ordered from the person represented I'nr this service at

MATH/I'ECH
AD.IUSTED
AMOUNT

 

§033 51 "‘1
12. A'l'roRNEY's NAME rim mm M.l.,LmNm. including m sumx) 13. comer olu)F.R ' § § 3 i-.-¢
AND MAIL!NG ADD SS 0 Appolnt|ng Cotmsei l:l C Cn-Cnunsel ' :J_-E`l'? bn 'CJ
BROWN, SHEILA D_ E F suhsForredml ner¢mnr l:l n sum Fur naming timmy -< m
9160 Hwy 64 Suite 12 C] P Suhs For Panel Attomey I:E Y Slandby Coun§l_ "“‘ f ‘_;_“
’ "'1
Lakelztrld TN 3 3002 P"i‘"' A““"‘°"" N“"""‘ : ;' "” N .
A,.r Daie: ‘ ' §§ l "'?
i:| lemuse the above-named person represented has tstiiled under ;ti§i'ints 3 C;
otherwise satisfied this court that he or she (1) is financially unable lo §i;b(d§ ERlnsel not " \
Teleph°ne Numbm (2) does nnt wish to waive cuunsel, an - - - the interests nl'jlxstice '“'“n the (D ‘
. -' -- -- . w in lt aimed to represent this is use{’ C
14. NAME AND MA[LING ADDRESS OF LAW FiR]\‘I(only provide perins|ml:t.inns) §__{5 ;:-{

Z*l

ADDITIONAL
REVIEW

 

 

 

 

 

 

211 APPOINTMENT TERMZNA'I'ION DATE
IF OTHER THAN CASE CUMPLETION

 

2]`.. CASE DISPOSITION

 

 

22. CLAIM STATUS E Final Fayment \:] Interim Payment Numher

Have you previously applied to the court for compensation and!ot' remimbursement for this case'.'
Other than from the court, have you, or to your knowledge has anyone else, received payment (co
representatin? l:\ YES l:] NO tr ye¢, give details on additional sh¢¢u.

I swear or affirm the truth or correctness of the above statements

Si¢nature of Attorney:

i:i Supplemental Payment
D YES NO If ys. were you paid?
mpensation or anything or value

I)ttte:

 

   

 

   

 

23. IN COURT COMP. ?.4. OUT OF COURT COMF.

..=.le.‘l,p.‘v.l=.;.\`-

25. TRAVEL EXPENSES

 

) from any other source |n connection with this

i:i YES [l NO

 

. .i!\"v'~g'

26. OTH.ER EXPENSES

 

 

  

 

  

27. TOTAL AMT. APPR l CERT

 

28. SlGNATURE OF THE PR.ES|DING JUDICIAL OFF[CER

DATE

.?.Ba. JUDGE l MAG. ]UDGE CODE

 

29. lN COURT COMP. 30. OUT OF COUR'I' COMP.

 

 

31. TRAVEL EXPENSES

32. OTHER EXPENSES

33. TOTAL AMT. APPRO\"EI)

 

34. SIGNATURE OF CHIEF .lUDGE, COURT
approved in excess of the statutory threshold amoun

 

?F APPEALS (OR DELEGATE) i’ayment

DATE

 

 

34:|. JUDGE CODE

 

 

UNITED sATE DSTIIC COURT - W"'RNT DISTRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of thc document docketed as number 28 in
case 2:04-CR-20474 Was distributed by faX, mail, or direct printing on
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Honorablc Bcrnicc Donald
US DISTRICT COURT

